                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                                       No. CR 13-4047-3-MWB
               Plaintiff,
 vs.
                                                MEMORANDUM OPINION AND
 BRANDON HINESLY,                                  ORDER REGARDING
                                              DEFENDANT’S MOTION IN LIMINE
               Defendant.
                            ___________________________

       In this case, defendant Brandon Hinesly (with co-defendants) is charged with
conspiring to obstruct justice in a federal criminal case by absconding, fleeing to avoid
justice, and violating the conditions of federal supervised release or aiding and abetting
another to do so, all in violation of 18 U.S.C. §§ 371 and 1503. This case is currently
set for a jury trial to begin on a date certain of March 10, 2014.
       Before a previously scheduled trial date, defendant Hinesly filed his October 11,
2013, Motion In Limine (docket no. 76), which is now pending before me. In his motion,
he seeks exclusion of the testimony of Miranda Hazen, whom he contends is his common-
law spouse, pursuant to spousal privileges. Somewhat more specifically, he seeks an
order precluding the testimony of Miranda Hazen concerning any marital
communications, including any testimony derived from marital communication between
the spouses, and the use of, or any reference to, or any argument about, or any cross-
examination concerning prior statements or testimony given by Ms. Hazen, and for the
appointment of an attorney for Ms. Hazen to advise her of her rights with respect to the
spousal testimonial privilege, as recognized in Trammel v. United States, 445 U.S. 40
(1980). In a Resistance (docket no. 85), filed October 25, 2013, the prosecution asserts



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that Hinesly has not yet come close to carrying his burden to establish a common-law
marriage between himself and Ms. Hazen; that Ms. Hazen voluntarily contacted law
enforcement about Hinesly’s possible criminal activity; and that Ms. Hazen has since
voluntarily testified against Hinesly in grand jury proceedings. The prosecution also
argues that, even had Hinesly proved the “marriage,” it is only possible that the “marital
communications privilege” would reach an alleged confession that Hinesly made to
Ms. Hazen, and that Ms. Hazen cannot be prevented from testifying as to what she
observed, what she heard Hinesly say to others, or what Hinesly said to her while others
were around. The prosecution also asserts that Ms. Hazen can unilaterally waive the
spousal testimony privilege.
       Hinesly’s bald assertion of a common-law marriage with Ms. Hazen falls well
short of the requirements for proof of such a union. See, e.g., In re Marriage of Martin,
681 N.W.2d 612, 616-18 (Iowa 2004). That being the case, any analysis of the extent
to which a spousal privilege might limit or preclude testimony by Ms. Hazen is
premature, speculative, and advisory. Furthermore, Hinesly has not identified with any
specificity any statement or testimony of Ms. Hazen that would violate either form of
spousal privilege, that is, either “the marital confidential communications privilege” or
the “adverse spousal testimony privilege.” See United States v. Espino, 317 F.3d 788,
795-96 (8th Cir. 2003). Consequently, any ruling I might make on the scope of the
marital privilege in this case would be speculative and advisory. The part of Hinesly’s
Motion seeking to preclude or limit Ms. Hazen’s testimony pursuant to a spousal privilege
is denied without prejudice as premature.
       Hinesly also requests that I appoint counsel to advise Ms. Hazen on spousal
privilege issues. Hinesly has cited no authority for me to do so nor any authority that a
court has any obligation to advise a witness of her potential spousal privilege, and I have
found none. This part of Hinesly’s Motion is also denied.

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          THEREFORE, defendant Hinesly’s October 11, 2013, Motion In Limine (docket
no. 76) is denied without prejudice as to his request to exclude testimony from his
purported common-law wife, Miranda Hazen, pursuant to a spousal privilege, and denied
as to his request for appointment of counsel to advise Ms. Hazen on spousal privilege
issues.
          IT IS SO ORDERED.
          DATED this 14th day of February, 2014.



                                        ______________________________________
                                        MARK W. BENNETT
                                        U.S. DISTRICT COURT JUDGE
                                        NORTHERN DISTRICT OF IOWA




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